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                                                                                   FILED
                                                                                U.S. DISTRICT COURT  -.
                                                                            EASTERN DISTRICT ARKANSAS
                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS                               MAR 2 3 2020
                             CENTRAL DIVISION
                                                                          JAME
                                                                          By:___::a::::::~~~~~-
BOYD WHITESIDE, Individually and on                                                           o PCLERK
Behalf of All Others Similarly Situated               This case assigned to District Judge   W) lso-n
                                                      and to Magistrate Judge _ _ _~----~-----
vs.                              No. 4:20-cv- JoLf -     8 RI.U

EVERGREEN PACKAGING, LLC                                                    DEFENDANT


                ORIGINAL COMPLAINT-COLLECTIVE ACTION


       COMES NOW Plaintiff Boyd Whiteside ("Plaintiff'), individually and on

behalf of all others similarly situated, by and through his attorneys April Rheaume

and Josh Sanford of the Sanford Law Firm, PLLC, and for his Original

Complaint-Collective Action against Evergreen Packaging, LLC ("Defendant"),

he does hereby state and allege as follows:

                           I. JURISDICTION AND VENUE

       1.     Plaintiff, individually and on behalf of all others similarly situated,

brings this action under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq.

("FLSA"), and the Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, et

seq. ("AMWA"), for declaratory judgment, monetary damages, liquidated

damages, prejudgment interest, and costs, including reasonable attorneys' fees

as a result of Defendant's failure to pay Plaintiff and all others similarly situated a

proper overtime compensation for all hours that Plaintiff and all others similarly

situated worked.



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      2.     The United States District Court for the Eastern District of Arkansas

has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

1331 because this suit raises federal questions under the FLSA.

       3.     Plaintiffs claims under the AMWA form part of the same case or

controversy and arise out of the same facts as the FLSA claims alleged in this

complaint. Therefore, this Court has supplemental jurisdiction over Plaintiffs

AMWA claims pursuant to 28 U.S.C. § 1367(a).

      4.      Defendant conducts business within the State of Arkansas,

operating and managing a paper mill in Jefferson County.

       5.    Venue lies properly within this Court under 28 U.S.C. § 1391 (b)(1)

and (c)(2), because the State of Arkansas has personal jurisdiction over

Defendant, and Defendant therefore "resides" in Arkansas.

       6.     Plaintiff was employed by Defendant at its factory located in the

Central Division of the Eastern District of Arkansas.

       7.     The acts alleged in this Complaint had their principal effect within

the Central Division of the Eastern District of Arkansas, and venue is proper in

this Court pursuant to 28 U.S.C. § 1391.

                                   II. THE PARTIES

       8.     Plaintiff is a citizen of the United States and a resident and

domiciliary of the State of Arkansas.

       9.     Defendant is a foreign limited liability company, registered to do

business in Arkansas.




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       10.     Defendant's registered address for service is Corporation Service

Company, 300 Spring Building, Ste 900, 300 S. Spring St, Little Rock, AR 72201.

       11.     Defendant maintains a website at https://evergreenpackaqinq.com/.

                              Ill. FACTUAL ALLEGATIONS

       12.     Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       13.     At all relevant times herein, Defendant was an "employer" of

Plaintiff and similarly situated employees within the meaning of the FLSA.

       14.     Defendant has at least two (2) employees that handle, sell, or

otherwise work on goods or materials that have been moved in or produced for

commerce.

       15.     Defendant's annual gross volume of sales made or business done

was not less than $500,000.00 (exclusive of excise taxes at the retail level that

are separately stated) during each of the three calendar years preceding the

filing of this complaint.

       16.     Plaintiff was employed by Defendant as a salaried employee from

April of 2013 until February of 2020.

       17.     At all times material herein, Plaintiff and the others have been

entitled to the rights, protections and benefits provided under the FLSA.

       18.     During the period relevant to this lawsuit, Plaintiff worked as a

Process Manager at Defendant's paper mill.

       19.     At all relevant times herein, Defendant directly hired Process

Managers to work in its mill, paid them wages and benefits, controlled their work

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schedules,   duties,    protocols,     applications,     assignments        and   employment

conditions, and kept at least some records regarding their employment.

      20.    At all times material herein, Plaintiff and those similarly situated

have been misclassified by Defendant as salaried employees and as exempt

from the overtime requirements of the FLSA, 29 U.S.C. § 207.

      21.    Plaintiff and similarly situated employees were responsible for

monitoring processes, reviewing timecards and completing shift changes with the

incoming Process Manager.

      22.    Plaintiff and similarly situated employees were scheduled to work

eight hours per day, but they were regularly required to work more hours than

they were scheduled to complete clean-up duties, turn over the shift to the

incoming Process Manager, and help with problems that arose during their shift.

      23.    Plaintiff and similarly situated employees regularly worked over

forty hours per week.

      24.    Plaintiff and other similarly situated employees did not hire or fire

any other employee.

      25.    Plaintiff and other similarly situated employees were not asked to

provide input as to which employees should be hired or fired.

      26.    At all relevant times herein, Defendant has deprived Plaintiff and

similarly situated employees of regular wages and overtime compensation for all

of the hours worked over forty (40) per week.

      27.    Defendant knew or showed reckless disregard for whether its

actions violated the FLSA.

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                  IV. REPRESENTATIVE ACTION ALLEGATIONS

        28.   Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

        29.   Plaintiff brings his claims for relief for violation of the FLSA as a

collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on

behalf of all persons who were, are, or will be employed by Defendant as

similarly situated salaried employees at any time within the applicable statute of

limitations period, who are entitled to payment of the following types of damages:

        A.    Overtime premiums for all hours worked in excess of forty per

week;

        B.    Liquidated damages; and

        C.    The costs of this action, including attorney's fees.

        46.   Plaintiff proposes the following class under the FLSA:

              All salaried Process Managers within the last three years.

        47.   In conformity with the requirements of FLSA Section 16(b), Plaintiff

has filed or will soon file written a Consent to Join this lawsuit.

        48.   The relevant time period dates back three years from the date on

which Plaintiff's Original Complaint-Collective Action was filed herein and

continues forward through the date of judgment pursuant to 29 U.S.C. § 255(a),

except as set forth herein below.

        49.   The proposed FLSA class members are similarly situated in that

they share these traits:




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      A.      They were classified by Defendant as exempt from the overtime

provision of the FLSA;

       B.     They were subject to Defendant's common policy of not paying

proper overtime wages as required by the FLSA;

       C.     They worked more than 40 hours in at least one week; and

       D.     They had substantially similar job duties, requirements, and pay

provisions.

       50.    Plaintiff is unable to state the exact number of the class but

believes that there are at least twenty-five (25) other employees who worked as

Process Managers and were misclassified as salaried employees.

       51.    Defendant can readily identify the members of the Section 16(b)

class, which encompasses all salaried supervisors.

       52.    The names and physical and mailing addresses of the FLSA

collective action plaintiffs are available from Defendant, and a Court-approved

Notice should be provided to the FLSA collective action plaintiffs via first class

mail and email to their last known physical and electronic mailing addresses as

soon as possible, together with other documents and information descriptive of

Plaintiff's FLSA claim.

                           V. FIRST CAUSE OF ACTION
                  (Individual Claim for Violation of the FLSA)

       53.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.

       54.    Plaintiff asserts this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201, et seq.
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       55.    At all times relevant to this Complaint, Defendant has been

Plaintiff's "employer" within the meaning of the FLSA, 29 U.S.C. § 203.

       56.    At all times relevant to this Complaint, Defendant has been, and

continues to be, an enterprise engaged in commerce within the meaning of the

FLSA, 29 U.S.C. § 203.

       57.    29 U.S.C. §§ 206 and 207 require any enterprise engaged in

commerce to pay all employees a minimum wage for all hours worked up to forty

(40) in one week and to pay one and one-half times regular wages for all hours

worked over forty (40) hours in a week, unless an employee meets certain

exemption requirements of 29 U.S.C. § 213 and accompanying DOL regulations.

       58.    At   all     times     relevant    times    to   this   Complaint,   Defendant

misclassified Plaintiff as exempt from the overtime requirements of the FLSA.

       59.    Despite the entitlement of Plaintiff to overtime payments under the

FLSA, Defendant failed to pay Plaintiff an overtime rate of one and one-half times

his regular rate of pay for all hours worked over forty (40) in each week.

       60.    Defendant's failure to pay Plaintiff all wages owed was willful.

       61.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the three (3)

years prior to the filing of this Complaint.

                          VI. SECOND CAUSE OF ACTION
               (Collective Action Claim for Violation of the FLSA)

       62.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.
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       63.    Plaintiff, individually and on behalf of all others similarly situated,

asserts this claim for damages and declaratory relief pursuant to the FLSA, 29

U.S.C. § 201, et seq.

       64.    At all times relevant times to this Complaint, Defendant has been,

and continues to be, an "employer" of Plaintiff and all those similarly situated

within the meaning of the FLSA, 29 U.S.C. § 203.

       65.    At all times relevant to this Complaint, Defendant misclassified

Plaintiff and all others similarly situated as exempt from the overtime

requirements of the FLSA.

       66.    Despite the entitlement of Plaintiff and those similarly situated to

overtime payments under the FLSA, Defendant failed to pay Plaintiff and all

those similarly situated an overtime rate of one and one-half times their regular

rates of pay for all hours worked over forty (40) in each one-week period.

       67.    Defendant willfully failed to pay overtime wages to Plaintiff and to

others similarly situated.

       68.    By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff and all those similarly situated for monetary damages, liquidated

damages, and costs, including reasonable attorneys' fees, for all violations that

occurred within the three (3) years prior to the filing of this Complaint.

                          VII.  THIRD CAUSE OF ACTION
                    (Individual Claim for Violation of AMWA)

       69.    Plaintiff repeats and re-alleges all previous paragraphs of this

Complaint as though fully incorporated in this section.


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       70.     Plaintiff asserts this claim for damages and declaratory relief

pursuant to the AMWA, Ark. Code Ann.§ 11-4-201, et seq.

       71.     At all times relevant to this Complaint, Defendant was Plaintiff's

"employer" within the meaning of the AMWA, Ark. Code Ann.§ 11-4-203(4).

       72.     Sections 210 and 211 require employers to pay a minimum wage

for all hours worked up to forty in one week and to pay 1.Sx regular wages for all

hours worked over forty hours in a week, unless an employee meets the

exemption requirements of 29 U.S.C. § 213 and accompanying DOL regulations.

       73.     At all times relevant to this Complaint, Defendant misclassified

Plaintiff as exempt from the overtime requirements of the AMWA.

       74.     Despite the entitlement of Plaintiff to overtime payments under the

AMWA, Defendant failed to pay Plaintiff an overtime rate of one and one-half

times his regular rate of pay for all hours worked over forty (40) in each week.

       75.     Defendant's failure to pay Plaintiff all wages owed was willful.

       76.     By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiff for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the 3 years prior

to the filing of this Complaint pursuant to Ark. Code Ann. § 11-4-218.

                             VIII.   PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Boyd Whiteside, individually

on behalf of all others similarly situated, respectfully prays as follows:

             A. That Defendant be summoned to appear and answer this

Complaint;

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         B. A declaratory judgment that Defendant's practices alleged herein

violate the FLSA and the AMWA;

         C. Judgment for damages for all unpaid overtime wage compensation

owed under the FLSA and the AMWA;

         D. Judgment for liquidated damages pursuant to the FLSA and the

AMWA;

         E. For a reasonable attorney's fee, costs, and interest; and

         F. Such other relief as this Court may deem just and proper.

                                           Respectfully submitted,

                                           BOYD WHITESIDE, Individually
                                           and on Behalf of All Others
                                           Similarly Situated, PLAINTIFF

                                           SANFORD LAW FIRM, PLLC
                                           ONE FINANCIAL CENTER
                                           650 SOUTH SHACKLEFORD, SUITE 411
                                           LITTLE ROCK, ARKANSAS 72211
                                           TELEPHONE: (501) 221-0088


                                           ~:-~
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                                           Ark. Bar No.
                                           josh@sanfordlawfirm.com




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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


BOYD WHITESIDE, Individually and on                                            PLAINTIFF
Behalf of All Others Similarly Situated


vs.                            No. 4:20-cv-- -


EVERGREEN PACKAGING, LLC                                                    DEFENDANT


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as a salaried worker for Evergreen Packaging, LLC, within the
past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                  ~+~
                                                 BOYD WHITESIDE
                                                 March 23, 2020




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